On trial of the above-mentioned case in the Court of Common Pleas for Charleston County, a verdict was found for the plaintiff and judgment duly entered thereon; upon appeal by the defendant to this Court, the judgment was affirmed. Thereafter the Supreme Court of the United States reversed the judgment of the State Supreme Court and remanded the case for a new trial; the mandate of the Court being as follows: "It is now here ordered and adjudged by this Court that the judgment of the said Supreme Court in this cause be, and the same is hereby, reversed with costs. * * * And it is further ordered that this cause shall be, and the same is hereby, remanded *Page 118 
to the Supreme Court of the State of South Carolina for a new trial."
The defendant now moves for an order directing the entry of judgment in its favor, under Rule 27 of this Court. The plaintiff opposes the motion, and contends that under the judgment and mandate of the Supreme Court of the United States a new trial of the case should be had in the proper trial Court — that is, in the Court of Common Pleas for Charleston County — and that this Court should remand the case to that Court for such purpose.
The question is, therefore, What effect should be given by this Court to the mandate of the United States Supreme Court?
The language of the mandate is clear; the case was remanded for a new trial. This being the Court from which the case was removed by the writ, it was the only Court, under the law to which the cause could be remanded. Mason's U.S. Code, tit. 28, § 344 (28 USCA, § 344). But, as this is an appellate and not a trial Court, it is evident that the Supreme Court of the United States did not intend to direct that a new trial of the cause should be had in the State Supreme Court. Hence, under this view of the matter, the language of the mandate, that the case "is hereby remanded to the Supreme Court of the State of South Carolina for a new trial," can only mean that the case is remanded to this Court for a new trial, to be had in the proper trial Court. It follows, therefore, that it is made the duty of this Court, in order that effect may be given to the Court's mandate in the matter of a new trial, to remand the case to the trial Court.
The contention that the Supreme Court of the United States is without authority to order a new trial in the cause, and that its mandate in that respect is a nullity, will not be considered by this Court.
It is, therefore, ordered that the motion of the defendant be refused. Ordered, further, that the case be remanded to *Page 119 
the Court of Common Pleas for Charleston County for a new trial.